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                           **NOT FOR PRINTED PUBLICATION**

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION

HARRY CHESSHER,                                  §
                                                 §
       Plaintiff,                                §
                                                 §     CIVIL ACTION No. 1:16-cv-433
v.                                               §
                                                 §     JUDGE RON CLARK
XL SPECIALTY INSURANCE CO.,                      §
                                                 §     VSL
       Defendant.                                §

                                    ORDER DISMISSING CASE

       The parties have filed a stipulation of dismissal, requesting that the court dismiss this case

with prejudice. (Dkt. # 19).

       IT IS THEREFORE ORDERED that this case is DISMISSED WITH PREJUDICE, with

each party to bear its own costs.

       The Clerk is directed to CLOSE this case.



           So Ordered and Signed
           Jun 11, 2017
